Case: 4:23-cv-00242-BYP Doc #: 392 Filed: 02/12/24 1 of 11. PageID #: 5120




  PEARSON, J.
  (Rev. 3/15/2023)



                                     UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION


  IN RE: EAST PALESTINE TRAIN                           )
  DERAILMENT                                            )    CASE NO. 4:23-CV-242
                                                        )
                                                        )    JUDGE BENITA Y. PEARSON
                                                        )
                                                        )    CIVIL TRIAL ORDER



                 A Final Pretrial Conference is set for February 5, 2025 at 10:00 a.m. in Chambers 313,

  Thomas D. Lambros United States Court House, 125 Market Street, Youngstown, Ohio. Trial of

  this matter shall begin on March 31, 2025 at 9:00 a.m. on a stand-by basis, for a period of two

  weeks in Courtroom 351, Thomas D. Lambros United States Court House, 125 Market Street,

  Youngstown, Ohio. Because this case is designated as a standby case, it shall be the

  responsibility of counsel to keep in contact with the Court’s Courtroom Deputy at 330-884-7435,

  concerning the exact date and time of Trial. This matter will remain on a stand-by status subject

  to call for a period of two (2) weeks. Counsel should appear at least 30 minutes before trial time.

  LEAD COUNSEL WHO WILL PRESENT AT TRIAL AND PARTIES WITH FULL

  SETTLEMENT AUTHORITY MUST BE PRESENT AT THE FINAL PRETRIAL

  UNLESS EXCUSED BY THE COURT UPON WRITTEN MOTION. Lead Counsel shall

  be prepared and authorized to discuss all relevant issues, including settlement. When a party is

  other than an individual or when a party’s interests are being represented by an insurance

  company, an authorized representative of such party or insurance company, with full authority to

  settle, shall attend. Failure of counsel to comply in good faith with the following procedures may
Case: 4:23-cv-00242-BYP Doc #: 392 Filed: 02/12/24 2 of 11. PageID #: 5121




  (4:23-CV-242)


  result in the imposition of sanctions.

                                           A. Trial Documents

          1. Counsel are advised that all documents, notices and orders in this matter shall be filed

  electronically rather than on paper, except as provided for in the Electronic Filing Policies and

  Procedures Manual, which governs electronic filing in the Northern District of Ohio and also

  provides helpful information on system requirements and usage. The manual can be accessed

  online.1 Electronically filed documents should be in a text-searchable format.

          Notice of filings are sent electronically. It is the responsibility of each counsel of record

  to set up a user e-mail account to receive e-mail notification and to check that e-mail account on

  a regular basis. Directions for setting up e-mail notification are at the following link:

      http://www.ohnd.uscourts.gov/home/clerk-s-office-and-court-records/electronic-filing/

          If you have questions about electronic filing, please call any Northern District of Ohio

  Clerk’s Office location or our CM/ECF Help Desk at 1-800-355-8498.

          2. The following trial documents are to be submitted to the Court and opposing counsel

  not later than 4:00 p.m., ten (10) days prior to the trial date:

                  a.     Preliminary Statement: Counsel for the parties shall confer in
                         person and agree upon a concise written statement describing the
                         case in an impartial, easily understood manner and submit it to the
                         Court to be read to the jury panel prior to voir dire. This statement
                         will be used to set the context of the trial for the jury.

                  b.     Voir Dire, Jury Instructions, Jury Interrogatories, and Verdict


  1
   http://www.ohnd.uscourts.gov/assets/Rules_and_Orders/Local_Civil_Rules/Local_Civil_R
  ules.htm

                                                     2
Case: 4:23-cv-00242-BYP Doc #: 392 Filed: 02/12/24 3 of 11. PageID #: 5122




  (4:23-CV-242)


                         Forms: Counsel for the parties shall jointly submit written voir dire
                         questions, jury instructions, jury interrogatories, and verdict forms
                         for the Court’s consideration. Counsel should confer in person
                         and, to the extent possible, agree upon a complete set of Jury
                         Materials. Counsel may separately submit disputed proposed Jury
                         Materials to the Court and opposing counsel, supported by legal
                         authority. The Court may reject any proposed Jury Materials. The
                         Court will reject any proposed Jury Materials espousing a legal
                         theory that is not supported by a citation to sound legal authority.
                         Ultimately, a single joint submission of jury instructions, jury
                         interrogatories and verdict forms shall be filed, providing: (1)
                         agreed upon instructions; (2) instructions proposed by the Plaintiff,
                         but opposed by Defendant; and (3) instructions proposed by
                         Defendant, but opposed by the Plaintiff. All proposed instructions
                         shall be supported by citations to legal authority.

                  c.     Trial Briefs: Counsel for the parties shall submit to the Court trial
                         briefs providing appropriate memoranda, supported by legal
                         authority, regarding evidentiary questions and any other legal
                         issues which may reasonably be anticipated to arise at trial. A
                         complete trial brief includes: (1) a statement of the facts;(2) a
                         complete discussion of the controlling law together with specific
                         citations of statutes and case law; and (3) a discussion of any
                         evidentiary issues likely to arise at trial.

         3. Witness and exhibit lists: Counsel shall provide to the Court and opposing counsel

  witness and exhibit lists no later than three (3) business days prior to the trial date. The lists

  shall provide a brief description and the purpose of each witness to be offered, and shall list and

  briefly describe each item of documentary or physical evidence to be offered. Each attorney shall

  have a continuing obligation to supplement the party’s witness list immediately upon learning of

  any additional witness. Witnesses not listed or provided before the trial starts shall not testify at

  trial, and exhibits not listed shall not be introduced at trial, absent a showing of good cause. This

  rule applies to lay witnesses as well as expert witnesses.


                                                    3
Case: 4:23-cv-00242-BYP Doc #: 392 Filed: 02/12/24 4 of 11. PageID #: 5123




  (4:23-CV-242)


         4. Exhibits: All exhibits must be marked before trial in accordance with Local Civil

  Rule 39.1. The Court is using new technology to facilitate the viewing of exhibits by jurors.

  Each party must submit all exhibits on a single storage device such as a CD, DVD or USB drive.

  A separate CD or USB drive should be provided for the Plaintiff’s Exhibits, Defendant’s

  Exhibits, and any Joint Exhibits. Each party must send the exhibits to Chambers in a manner that

  guarantees receipt of the exhibits by noon on Friday before trial commences.

         The electronic copies of exhibits must be named using a naming convention similar to:

  <exhibit number>-<exhibit part>_<exhibit description>.<file extension>. The exhibit number

  MUST be a number. Exhibits with subparts can be so designated using a letter for the exhibit

  part. The use of the “underscore” character is required when an optional description of the

  exhibit is included and cannot be used elsewhere in the exhibit name.

         Examples of valid exhibit file names:

                  1-a_photograph.jpg

                  12_2009 Tax Statement.pdf

                  35d.pdf

                  12(a)_camera footage.wmv

         Any questions regarding the naming conventions for the electronically stored exhibits

  should be directed to David Zendlo at (216) 357-7053.

         To maintain consistency between the electronic and the paper exhibits, BOTH PARTIES

  SHALL LABEL THEIR EXHIBITS WITH NUMBERS. Counsel shall mark all exhibits before

  trial with official or similar stickers. Exhibits shall be labeled with the party followed by the

                                                    4
Case: 4:23-cv-00242-BYP Doc #: 392 Filed: 02/12/24 5 of 11. PageID #: 5124




  (4:23-CV-242)


  exhibit number (e.g., “Plaintiff 1” or “Def 2”). The case number shall also appear on the

  stickers. Whenever a multi-page exhibit is used, each page of the exhibit must be separately

  numbered. For example, if the Plaintiff’s exhibit 1 is a three-page document, the first page

  should be marked as Plaintiff 1-1, the second page marked Plaintiff 1-2, etc. If there are multiple

  defendants, the party’s last name should precede the numbers or letters (e.g.,“Deft. Jones-1001”).

  Exhibit stickers are available from the Clerk on request.

         The Court no longer requires binders containing hard copies of exhibits, in addition to the

  electronic copies provided. Should the Court require hard copies, the parties shall be prepared to

  accommodate.

         If demonstrative evidence such as models or sketches, are to be used at trial, counsel shall

  exchange them no later than two (2) days prior to the date of trial.

         The Court will not allow exhibits to be given to the jury during trial without prior Court

  approval. If the Court approves such a request, sufficient copies for each juror must be provided

  so all jurors may view the exhibit simultaneously. Exhibits not identified and exchanged prior to

  trial shall not be introduced at trial, absent a showing of good cause.

         5. Undisputed Fact Stipulation: Counsel for Plaintiff shall prepare and submit to

  opposing counsel at least fourteen (14) days prior to the pretrial conference, a proposed

  stipulation as to undisputed facts for use at trial, and for submission to the jury in the event of a

  jury trial. Opposing counsel shall add to and note disagreement, if any, with the proposed

  stipulation and so notify counsel for Plaintiff as to proposed additions, deletions, or objections

  ten (10) days prior to the pretrial conference.

                                                     5
Case: 4:23-cv-00242-BYP Doc #: 392 Filed: 02/12/24 6 of 11. PageID #: 5125




  (4:23-CV-242)


          At least seven (7) days prior to the pre-trial conference, Counsel shall meet and put in

  final form the stipulation as to undisputed facts, reserving any objections as to relevancy, and

  submit the signed stipulation to the Court three (3) days prior to the pretrial conference via the

  Court’s electronic filing system.

          The final stipulation is intended to expedite the fact-finding process at trial. Copies of the

  stipulation will be submitted to the jury in all jury trials. Only the final agreed upon stipulation

  should be filed with the Court. Copies of any documents to which the parties have stipulated

  should be appended to the stipulation.

                                  B. Use of Depositions as Evidence

          If the parties intend to use any deposition as evidence during the trial, the parties must file

  these depositions by the time of the final pretrial conference with the portions to be read noted

  therein. An opportunity will be given to opposing counsel to read any omitted portion. Counsel

  will be notified at trial of rulings on all objections pertaining to the depositions.

          Use at trial of videotape depositions is encouraged. The parties are specifically direct to

  comply with the provisions of LR 32.1. In addition, when videotape depositions will be

  presented in lieu of live trial testimony, counsel must file with the Court a complete written

  transcript of the videotape deposition prior to its use.

                                           C. Non-Jury Cases

          For matters not submitted to a jury, the Court requires counsel to submit at least one (1)

  week prior to the scheduled trial date (1) a statement of the issues, (2) proposed findings of fact,

  and (3) proposed conclusions of law.

                                                     6
Case: 4:23-cv-00242-BYP Doc #: 392 Filed: 02/12/24 7 of 11. PageID #: 5126




  (4:23-CV-242)


         The proposed findings of fact must cite the particular witness(es) and physical evidence

  upon which each proposed finding is based. Likewise, the proposed conclusions of law must cite

  the direct legal authority upon which each proposed legal conclusion is based.

         The Court may also order the parties to submit post-trial briefs. These briefs will be

  limited to specific questions assigned by the Court during or after trial. The Court may also

  permit counsel to file supplemental findings of fact and conclusions of law following the trial.

         The parties must exchange any post-trial briefs, as well as any supplemental findings of

  fact or conclusions of law.

                                        D. Other Trial Matters

         1. Objections: Any objections to a proposed witness or exhibit shall be filed and served

  no later than 12:00 p.m. noon one (1) business day before the trial. Such objections shall include

  a brief statement as to why the proposed witness or exhibit should not be permitted or admitted,

  as well as specific citations to pertinent case law or other legal authority.

         2. Motions in Limine and Other Evidentiary Matters: Motions in limine (other than

  those addressed to documentary evidence (see Section D.1. above on objections to exhibits) and

  expert witnesses) shall be filed fourteen (14) days prior to trial. Responses to motions in limine

  shall be filed seven (7) days thereafter. No reply memoranda will be allowed absent prior leave

  of Court.

         If the qualifications of an expert witness are being challenged, the Court will conduct a

  Daubert hearing when appropriate. The Court expects counsel to submit thorough briefs and/or

  a voir dire of the expert’s testimony so that the Court has sufficient evidence to perform it’s

                                                     7
Case: 4:23-cv-00242-BYP Doc #: 392 Filed: 02/12/24 8 of 11. PageID #: 5127




  (4:23-CV-242)


  gatekeeping function of ensuring the expert’s testimony is reliable and relevant.

         The Court will not hold bench or chamber conferences during trial to consider legal

  issues including evidentiary rulings that could have been raised before trial without a showing

  that counsel could not, by the exercise of due diligence, have anticipated them in advance of trial.



         3. Courtroom Conduct and Procedure:

         a.       Counsel should expect the trial to be conducted from 9:00 a.m. to 4:00
                  p.m., Monday through Friday. Counsel will be notified of an occasional
                  variance to this schedule;

         b.       Counsel should arrive 30 minutes prior to the start of a day in trial;

         c.       When appearing in this Court, all counsel (including, where the context
                  applies, all persons at counsel table) shall abide by the following:

                       i.      Stand as court is opened, recessed or adjourned.

                       ii.     Stand when the jury enters or retires from the courtroom.

                       iii.    Stand when addressing the Court. When making an
                               objection, state the legal basis only. If a response is
                               necessary, be brief, without making a speech. If it is
                               critical to the case that counsel be heard in more detail, a
                               bench conference may be called to explain the basis for an
                               objection. Otherwise, bench conferences will not be
                               permitted.

                       iv.     Stand at the lectern while examining any witness; except
                               that counsel may approach the witness for purposes of
                               handling or tendering exhibits.

                       v.      Stand at the lectern while making opening statements or
                               closing arguments.

                       vi.     Address all remarks to the Court, not to opposing counsel.

                                                  8
Case: 4:23-cv-00242-BYP Doc #: 392 Filed: 02/12/24 9 of 11. PageID #: 5128




   (4:23-CV-242)



                         vii.    Avoid disparaging personal remarks or acrimony toward
                                 opposing counsel and remain wholly detached from any ill
                                 feeling between the litigants or witnesses.

                         viii.   Refer to all persons, including witnesses, other counsel, the
                                 parties and the Court’s clerks by their surnames and not by
                                 their first or given names.

                         ix.     Only one attorney for each party shall examine, or cross
                                 examine each witness. The attorney stating objections, if
                                 any, during direct examination, shall be the attorney
                                 recognized for cross examination.

                         x.      Any witness testifying at the time of recess or adjournment
                                 must be back on the witness stand when the Court
                                 reconvenes. If a new witness is to be called, she must be
                                 standing in front of the witness box ready to be sworn.

                         xi.     In examining a witness, counsel shall not unnecessarily
                                 repeat or echo the answer given by the witness.

                         xii.    Gestures, facial expressions, audible comments, or the like,
                                 as manifestations of approval or disapproval during the
                                 testimony of witnesses, or at any other time, are absolutely
                                 prohibited.

         4. Daily Transcripts: Counsel shall advise the Court no later than three (3) days prior to

 the date of trial, if daily transcripts of the trial testimony will be requested.

         5. Continuances: The Court will not continue a trial or hearing without a written

 motion stating the reason for the request, endorsed in writing by all moving parties and their lead

 counsel of record. A motion for continuance due to a conflict of trial assignment dates will not

 be considered unless a copy of the conflicting assignment is attached. The motion shall be filed

 and served not less than fifteen (15) days after counsel becomes aware of the conflict, and not


                                                     9
Case: 4:23-cv-00242-BYP Doc #: 392 Filed: 02/12/24 10 of 11. PageID #: 5129




   (4:23-CV-242)


 less than thirty (30) days before trial. When possible, the parties shall jointly propose alternative

 dates to avoid further conflict.

         6. Conduct of Counsel In addition to that provided herein, pursuant to the Statement on

 Professionalism issued by the Supreme Court of Ohio on February 3, 1997, counsel are directed

 to be courteous and civil in all oral and written communications with each other and the Court.

 Pleadings or any other communications which do not conform to this standard will be rejected.

         7. Location of Counsel: Counsel are required to remain in the proximity of the

 Courtroom during jury deliberations. If you need to leave the immediate area, you are required to

 report to the courtroom deputy.

         8. Video Conference Technology: Witness testimony may be offered during trial via

 Video Conference Technology. Docketed Notice must be given of intent to call a witness via

 video conference at least one week prior to the start of trial. It is Counsel’s responsibility to find

 a location for the witness to receive a video conference call from the Court during trial. Counsel

 is required to work with the Court’s IT Department and Courtroom Deputy in advance of trial to

 test the technology and be sure the video conference communication works in the courtroom. It

 is also Counsel’s responsibility to ensure that the witness, Court and opposing counsel have all

 necessary exhibits. Counsel must be prepared to assure the Court that the witness is who he or

 she claims to be. Counsel implicitly makes this assurance whenever a witness is called. But, the

 likelihood of a video conferenced witness being an imposter is greater than if the witness were

 live.



                                                   10
Case: 4:23-cv-00242-BYP Doc #: 392 Filed: 02/12/24 11 of 11. PageID #: 5130




   (4:23-CV-242)


        9. Settlement: If the parties reach a settlement in the case, counsel are directed to notify

 the Court immediately by calling 330-884-7435. FAILURE TO DO SO MAY RESULT IN THE

 IMPOSITION OF SANCTIONS in the event that the Court or the Court’s law clerks spend time

 resolving pending motions after the failure to notify regarding settlement. Jury costs will be

 assessed pursuant to Local Rule 54.1 if settlement is achieved after a jury has been called.

                                     E. Electronic Courtroom

        Courtroom Technology: The courtroom has recently been upgraded to replace the

 analog VGA based video equipment with digital HDMI. Legacy VGA based laptops can still be

 displayed in the courtroom via a connection at the presenter cart only. Counsel are strongly

 urged to schedule an appointment with the Court’s IT Department to review the electronics and

 ensure that their laptops are configured for the system. Additional information regarding the

 electronic courtroom is available at the following link:

                       https://www.ohnd.uscourts.gov/courtroom-technology



        IT IS SO ORDERED.


   February 12, 2024                             /s/ Benita Y. Pearson
 Date                                          Benita Y. Pearson
                                               United States District Judge




                                                 11
